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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division

    JULIE GLENNON and THOMAS E.
    OVERBY, JR., individually and on behalf of
    all others similarly situated

                     Plaintiffs,

             v.                                                 Case No.:

    ANHEUSER-BUSCH, LLC,

                     Defendant.


                      COLLECTIVE AND CLASS ACTION COMPLAINT

        Named Plaintiffs Julie Glennon and Thomas E. Overby, Jr. (“Named Plaintiffs”),

 individually and on behalf of others similarly situated (collectively “Plaintiffs”), by and through

 their undersigned counsel of record, hereby sets forth this collective and class action against

 Defendant Anheuser-Busch, LLC (“Defendant”), and allege as follows:

                  NATURE OF ACTION AND INTRODUCTORY STATEMENT

        1.        This action arises out of Defendant’s systemic, company-wide policy of failing to

 pay its employees for all hours worked and for overtime hours worked at the appropriate overtime

 rate, in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., the Virginia

 Minimum Wage Act (“VMWA”), Virginia Code §§ 40.1-28.8 et seq.; and the Virginia Wage

 Payment Act (“VWPA”), Virginia Code §§ 40.1-29 et seq.

        2.        Plaintiffs consist of current and former operators, technicians, engineers, or similar

 positions, who work for Defendant in Virginia and are compensated on an hourly basis.

 Throughout the relevant period, Defendant has maintained a corporate policy of failing to

 compensate Plaintiffs for all mandatory pre- and/or post-shift work. In particular, Defendant


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 requires Plaintiffs to arrive to work prior to the scheduled start time of Plaintiffs’ shifts, in order

 to perform a litany of tasks necessary to perform Plaintiffs’ jobs, including preparatory work,

 maintenance work, cleaning work, and paperwork, among other tasks. As for the end of Plaintiffs’

 shift, Plaintiffs are required to perform cleaning work, and numerous other tasks to properly wind

 down Plaintiffs’ shifts. Plaintiffs are required to perform this work in order to be prepared to carry

 out their job responsibilities when they arrive at job sites. This work was required to be completed

 by Defendants and the failure of Plaintiffs to perform this work could result in warnings, discipline,

 and ultimately, termination.

        3.      Notably, Defendant only compensates Plaintiffs for their scheduled shifts and does

 not compensate Plaintiffs for the required pre- and/or post-shift work.

        4.      Defendant, through its managers and agents, are aware that Plaintiffs are

 completing this pre and/or post-shift work and doing so without compensation. Defendant suffers

 or permits, and in fact requires Plaintiffs to complete such pre- and/or post-shift work.

        5.      Plaintiffs routinely work 40 hours or more per week, without accounting for pre-

 and/or post-shift work. When pre- and/or post-shift work are included, even those Plaintiffs who

 are scheduled and paid for only 40 hours or less per week, actually work over 40 hours per week

 without being compensated for all of their time worked or compensated at the proper overtime rate

 for hours worked over 40 per week.

        6.      Defendant’s practice of failing to compensate Plaintiffs for all pre and post-shift

 work violates Plaintiffs’ rights under the FLSA, VMWA, and VWPA.

        7.      Plaintiffs bring this action for violations of the FLSA as a collective action,

 pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of the following class in

 Virginia:




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        All individuals who were, are, or will be employed by Defendant in Virginia as
        operators, technicians, engineers, or other similar positions who were not
        compensated for all of their hours worked, including, but not limited to, above forty
        (40) per week, within three (3) years prior to the commencement of this action,
        through the date of judgment or final disposition in this action.

        8.      Defendant is liable for its failure to pay Plaintiffs for all work performed.

        9.      Plaintiffs who elect to participate in this FLSA collective action seek compensation

 for all pre and/or post-shift work performed for Defendant. Plaintiffs seek compensation at the

 appropriate overtime rate for all hours worked in excess of forty (40) per week, an equal amount

 of liquidated damages, prejudgment interest, and attorneys’ fees and costs, pursuant to 29 U.S.C.

 § 216(b).

        10.     Named Plaintiffs also bring this action, on their own behalf, and as representatives

 of similarly situated current, former, or future operators, technicians, engineers, or similar

 positions, employed by Defendant in Virginia, under the VMWA and VWPA. Named Plaintiffs,

 who are Virginia residents, and who worked for Defendant in Virginia, assert that they and the

 putative class, who work or worked in Virginia for Defendant, are entitled to compensation for all

 pre- and/or post-shift work performed for Defendant, whether the work week totaled greater or

 fewer than forty (40) hours, compensation at the appropriate overtime rate for all hours worked in

 excess of forty (40) per week, an equal amount of liquidated damages, prejudgment interest, and

 attorneys’ fees and costs, pursuant to Virginia Code §§ 40.1-28.8, et seq., and 40.1-29 et seq.

        11.     Plaintiffs seek class certification under Rule 23 of the Federal Rules of Civil

 Procedure for the following class of Defendants’ employees in Virginia:

        All individuals who were, are, or will be employed by Defendant in Virginia as
        operators, technicians, engineers, or other similar positions who were not
        compensated for all of their hours worked, including, but not limited to, above forty
        (40) per week, within three (3) years prior to the commencement of this action,
        through the date of judgment or final disposition in this action.




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            12.   Named Plaintiffs brings this lawsuit seeking monetary relief against Defendant on

 behalf of themselves and all others similarly situated in Virginia to recover, among other things,

 unpaid wages and benefits, interest, attorneys’ fees, costs, expenses, and penalties pursuant to

 Virginia Code §§ 40.1-28.8 et seq., 40.1-29 et seq., and 29 U.S.C. §§ 201, et. seq.

                                  JURISDICTION AND VENUE

            13.   Plaintiffs bring this collective and class action against Defendant for violations of

 Virginia Code §§ 40.1-28.8 et seq., 40.1-29 et seq., and 29 U.S.C. §§ 201, et. seq.

            14.   This Court has original subject matter jurisdiction over this action pursuant to 29

 U.S.C. § 1331 and 29 U.S.C. § 216(b).

            15.   Additionally, this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

 over the pendent state law claims under the VMWA and VWPA because those state law claims

 arise out of the same nucleus of operative fact as the FLSA claims.

            16.   This Court has jurisdiction over Defendant because, upon information and belief,

 it is a citizen of the United States, has sufficient minimum contacts in Virginia, or otherwise

 intentionally avail itself of the Virginia market so as to render the exercise of jurisdiction over it

 by the Federal and Virginia courts consistent with traditional notions of fair play and substantial

 justice.

            17.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant

 conducts business within the Eastern District of Virginia, and a substantial part of the events or

 omissions giving rise to these claims occurred in this District.

                                             COVERAGE

            18.   At all relevant times, Defendant was an employer within the meaning of the FLSA,

 29 U.S.C. § 203(d), the VMWA, and the VWPA.




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        19.     At all relevant times, Named Plaintiffs and all others similarly situated were

 employees engaged in commerce or in the production of goods for commerce within the meaning

 of 29 U.S.C. §§ 206, 207.

        20.     At all times material to this action, Defendant was an enterprise engaged in

 commerce or the production of goods for commerce as defined by the FLSA, 29 U.S.C. §§ 203(s),

 203(r), in that said enterprise has had employees engaged in commerce or in the production of

 goods for commerce, or employees handling, selling, or otherwise working on goods or materials

 that have been moved in or produced for commerce by any person, and in that said enterprise has

 had and has an annual gross volume of sales made or business done of not less than $500,000.

                                            PARTIES

        21.     Named Plaintiffs are residents of Virginia. Named Plaintiffs worked for Defendant

 in Virginia at its Williamsburg, Virginia brewery during the relevant time period.

        22.     Named Plaintiffs are informed, believe, and allege, that Defendant, at all times

 hereinafter mentioned, was and is an employer as defined in and subject to the FLSA and Virginia

 Code §§ 40.1-28.9, whose employees were and are engaged throughout this district and the

 Commonwealth of Virginia.

        23.     Defendant is a limited liability company organized under Missouri law,

 headquartered in Missouri, and has its principal place of business located at One Busch Place, St

 Louis, MO, 63118. According to its website, Defendant “embod[ies] the time-honored traditions

 of brewing great beer while constantly innovating to drive the industry forward.”

        24.     Defendant is an enterprise engaged in commerce under the FLSA because material

 hereto it had an annual gross volume of sales of more than $500,000.00.




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        25.     At all times relevant, Defendant was Named Plaintiffs’ employer and the employer

 of all other similarly situated individuals as defined by the FLSA and applicable state law.

        26.     During the period from June 2013 through July 2021, Named Plaintiff Glennon was

 employed by Defendant in various capacities, with her last position being an operator. In this

 capacity, Named Plaintiff Glennon performed substantial and ongoing employment duties for the

 benefit of Defendant in the Commonwealth of Virginia.

        27.     During the period from 1991 through the present, Named Plaintiff Overby was

 employed by Defendant in various capacities, with his last position being a maintenance

 technician. In this capacity, Named Plaintiff Overby performed substantial and ongoing

 employment duties for the benefit of Defendant in the Commonwealth of Virginia

        28.     By acting as the Named Plaintiffs in this action, Named Plaintiffs, by including

 their name on the caption of this Collective and Class Action Complaint, affirms their written

 consent to participate as a plaintiff in a collective action to seek unpaid wages and damages under

 the FLSA and to act as class representatives for the Federal Rule 23 class claims alleged herein.

                                  FACTUAL ALLEGATIONS

        29.     Defendant employs operators, technicians, engineers, or similar positions in its

 brewery located in the city of Williamsburg in the Commonwealth of Virginia (“Williamsburg

 brewery”).

        30.     According to Defendant’s website, “Opened in 1972, [the] Williamsburg Brewery

 produces nearly 400 different beer packages. [The] Williamsburg team has played a critical role

 in our innovation pipeline as the first brewery to brew Natural Light Naturdays, Bud Light Orange,

 and Michelob ULTRA Infusions.”




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         31.     Additionally, Defendant’s Williamsburg brewery produces the following brands of

 alcoholic beverages: Budweiser, Bud Light, Bud Light Lime, Bud Light Orange, Bud Light

 Lemonade, Bud Light Platinum, Bud Select, Select 55, Land Shark Lager, Bud Ice, Michelob,

 Michelob Light, Amberbock, Michelob ULTRA, Michelob ULTRA Lime Cactus, Michelob

 ULTRA Prickly Pear, Michelob Ultra Pomegranate, Goose Island Natural Villain, St. Pauli Girl

 Lager, Devil’s Backbone Vienna Lager, Natural Light, Natural Ice, Busch, Busch Light, Busch

 Ice, Becks, Becks Light, Kirin Ichiban, Kirin Light, King Cobra, Hurricane Malt Liquor, and

 Hurricane High Gravity.

         32.     Named Plaintiffs were employed by Defendant in Defendant’s Williamsburg

 brewery.

         33.     Upon information and belief, at all relevant times, Defendant employed and

 continues to employ at least 350 non-exempt individuals in the Williamsburg brewery.

         34.     Named Plaintiff Glennon’s job duties as an operator included driving a fork truck,

 loading and unloading trailers, among other tasks.

         35.     Named Plaintiff Overby’s job duties as a maintenance technician include fulfilling

 corrective, preventive, and emergency maintenance work orders, writing work orders, closing

 work orders, attending various administrative meetings, among other tasks.

         36.     Defendant compensates operators, technicians, engineers, or similar positions, on

 an hourly basis. Defendant classifies these employees as non-exempt under the FLSA.

         37.     Defendant requires operators, technicians, engineers, or similar positions to work

 approximately eight (8) hour shifts, five (5) days per week. There are typically three shifts that

 Plaintiffs are assigned – first, second, or third shift.




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        38.     In order to record the time worked of their employees, including Plaintiffs,

 Defendant utilizes an electronic timekeeping system to capture employees’ time. However, this

 timekeeping system does not properly capture pre-shift work that Plaintiffs perform outside of the

 Williamsburg brewery.

        39.     Prior to the onset of the COVID-19 pandemic in March 2020, and during the

 relevant time period, Defendant required Plaintiffs to arrive to work at approximately twenty (20)

 minutes prior to the start of their scheduled shifts to perform a litany of unpaid tasks, including

 traveling to the locker area; putting on and equipping various items of Personal Protective

 Equipment (“PPE”), such as safety shoes, safety gloves, safety glasses, earplugs, etc.; travel to

 Plaintiffs’ designated work area; and participate in a “carryover” with the previous shift, where the

 previous shift would give a verbal debrief to the next shift.

        40.     After the onset of the COVID-19 pandemic in March 2020, and in addition to the

 pre-shift work detailed above, Plaintiffs had to perform approximately thirty (30) minutes of

 unpaid pre-shift work, including waiting in line, either in Plaintiffs’ cars or in an in-person queue,

 for a required temperature check to screen for illness; go through a “foot bath” to disinfect

 Plaintiffs’ shoes and feet; disinfect Plaintiffs’ hands by washing them; and disinfect Plaintiffs’

 work area and equipment.

        41.     While Plaintiffs clock in after entering the Williamsburg brewery, Defendant does

 not compensate Plaintiffs from the time they clock in. Instead, Defendant only compensates

 Plaintiffs for their scheduled shift time and does not account nor compensate for any pre-shift work

 completed by Plaintiffs. Additionally, Plaintiffs’ time spent fulfilling pre-shift duties outside of

 the Williamsburg brewery is not properly captured or compensated, such as engaging in required

 temperature checks.




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         42.     During the relevant period, Plaintiffs typically perform approximately fifteen (15)

 minutes of post-shift work each workday, including finishing assigned work; conducting the

 “carryover” for the next shift; putting tools and equipment in storage; taking off PPE; washing

 body of foreign substances acquired during shift, including glass, dust, beer, lubricants, chemical

 residue, etc.; and numerous other tasks to properly wind down Plaintiffs’ shifts. Because these

 duties must be performed after Plaintiffs’ scheduled shift end time, and because Defendant only

 compensates Plaintiffs for their scheduled shift time, Plaintiffs’ time engaged in such post-shift

 activities is not compensated, despite Plaintiffs clocking out and recording their time at the time

 they finish their post-shift work.

         43.     This required, pre- and/or post-shift work has to be performed before the “start” of

 each shift and following the “end” of each shift. The pre-shift work is necessary in order for

 Plaintiffs to fulfil their job duties while on job sites. Additionally, the post-shift work is necessary

 to adequately wind down Plaintiffs’ work for the day, fulfill Plaintiffs’ duties, and to protect

 Defendant’s equipment and property.

         44.     Defendant, through its actions, directives, and policies, mandated that Plaintiffs

 perform this pre- and/or post-shift work.

         45.     Upon information and belief, Defendant strikes Plaintiffs’ time they manage to

 record engaging in any pre- and/or post-shift work.

         46.     If Plaintiffs do not perform this pre- and/or post-shift work, they risk receiving

 verbal and written warnings on their records. Multiple verbal and written warnings could result in

 disciplinary action or termination from employment.

         47.     If Plaintiffs arrived immediately prior to the scheduled start of their first job, they

 could not feasibly perform all required pre-shift work necessary to perform their job duties when




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  the first scheduled job begins, and they would therefore receive verbal or written warnings for

  failing to perform all required pre-shift work.

            48.   Defendants’ failure to compensate for all pre-and/or post-shift work performed has

  affected all Plaintiffs similarly.

            49.   Upon information and belief, Plaintiffs have complained numerous times to

  Defendant regarding their unpaid pre- and/or post-shift work, but Defendant has persisted in its

  practice and policy of not compensating for this time.

                          FLSA COLLECTIVE ACTION ALLEGATIONS

            50.   Named Plaintiffs bring the First Cause of Action of the instant Complaint as a

  collective action pursuant to 29 U.S.C. § 216(b), on behalf of themselves and all similarly situated

  employees.

            51.   Members of the FLSA class are similarly situated.

            52.   Members of the FLSA class have substantially similar job requirements and pay

  provisions, and are subject to common practices, policies, or plans that fail to compensate them

  for all work performed.

            53.   There are numerous (in excess of 250) similarly situated current and former

  operators, technicians, engineers, or similar positions that fall within the scope of the

  aforementioned FLSA class.

            54.   These similarly situated employees are known to Defendant, are readily

  identifiable, and can be located through Defendant’s records. Members of the proposed FLSA

  class, therefore, should be permitted to pursue their claims collectively, pursuant to 29 U.S.C. §

  216(b).




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         55.        Pursuit of this action collectively will provide the most efficient mechanism for

  adjudicating the claims of Plaintiffs.

         56.        Named Plaintiffs consent in writing to assert their claims for unpaid wages under

  the FLSA pursuant to 29 U.S.C. § 216(b). Named Plaintiffs signed consent forms are filed with

  the Court as Exhibits A and B to this Complaint. As this case proceeds, it is likely other individuals

  will file consent forms and join as opt-in plaintiffs.

         57.        Named Plaintiffs request that they be permitted to serve as representatives of those

  who consent to participate in this action, and that this action be conditionally certified as a

  collective action pursuant to 29 U.S.C. § 216(b).

               RULE 23 VMWA AND VWPA CLASS ACTION ALLEGATIONS

         58.        Named Plaintiffs bring the Second, Third, and Fourth Causes of Action of the

  instant Complaint as a class action pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil

  Procedure, on behalf of themselves and all similarly situated employees, for relief to redress and

  remedy Defendant’s violations of the VMWA and VWPA, Virginia Code §§ 40.1-28.8 et seq., and

  40.1-29 et seq.

         59.        Named Plaintiffs bring their state law counts for violations of the VMWA and

  VWPA as a class action pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure,

  on behalf of themselves and all similarly situated employees, for relief to redress and remedy

  Defendant’s violations of the VMWA and VWPA and failure to pay all wages due and owing

  pursuant to Defendant’s written employment contract and/or compensation plan and/or

  Defendant’s failure to pay full reasonable consideration for all compensable work duties

  performed for Defendant’s benefit.

         60.        Pursuit of this action as a class will provide the most efficient mechanism for




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  adjudicating the claims of Named Plaintiffs and the putative Class Plaintiffs.

         61.       Named Plaintiffs reserve the right to establish Subclasses, or modify any Class or

  Subclass definition, as appropriate.

         62.       Members of the Class and/or any Subclasses will be collectively referred to as

  “class members.” Named Plaintiffs reserve the right to re-define the Class and add additional

  Subclasses as appropriate based on investigation, discovery, and specific theories of liability.

         63.       Common Questions Predominate: There is a well-defined commonality of interest

  in the questions of law and fact involving and affecting the proposed class, and these common

  questions of law and fact predominate over any questions affecting members of the proposed class

  individually, in that all putative class members have been harmed by Defendant’s failure to

  lawfully compensate them. The common questions of law and fact include, but are not limited to,

  the following:

                   (a)    Whether pre- and/or post-shift work performed by putative Class Members

                          is compensable under the VMWA and/or VWPA;

                   (b)    Whether Defendants’ failure to compensate putative Class Members for

                          pre- and/or post-shift work is in violation of the VMWA and/or VWPA;

                   (c)    Whether Defendants failed to compensate putative Class Members at the

                          earned, accrued, and/or promised rate for all hours worked in excess of forty

                          (40) each week;

                   (d)    Whether Defendant failed to compensate putative Class Members for all of

                          their earned, accrued, and/or promised wages, including, but not limited to,

                          straight time and overtime on their regular pay date, in violation of the

                          VMWA and/or VWPA;




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                 (e)     Whether Defendant failed to provide accurate itemized wage statements to

                         Plaintiffs and class members; and

                 (g)     Whether Defendants’ conduct was willful, reckless, or was done knowingly.

         62.     There is a well-defined community of interest in this litigation and the proposed

  Class is readily ascertainable:

                 (a)     Numerosity: The proposed class is so numerous that the joinder of all such

         persons is impracticable, and the disposition of their claims as a class will benefit the parties

         and the Court. While the exact number of class members is unknown to Named Plaintiffs

         at this time, upon information and belief, the class comprises at least 350 individuals. The

         identities of the Class Members are readily ascertainable by inspection of Defendant’s

         employment and payroll records.

                 (b)     Typicality: The claims of the Named Plaintiffs are typical of the claims

         which could be alleged by any member of the putative Class, and the relief sought is typical

         of the relief which would be sought by each member of the Class in separate actions. All

         putative Class Members were subject to the same compensation practices of Defendant, as

         alleged herein, of failing to pay employees for all pre- and/or post-shift work. Defendant’s

         compensation policies and practices affected all putative Class Members similarly, and

         Defendant benefited from the same type of unfair and/or unlawful acts as to each putative

         Class Member. Named Plaintiffs and members of the proposed Class sustained similar

         losses, injuries, and damages arising from the same unlawful policies, practices, and

         procedures.

                 (c)     Adequacy of Representation: Named Plaintiffs will fairly and adequately

         represent and protect the interests of all members of the Class because it is in their best




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        interest to prosecute the claims alleged herein to obtain full compensation and penalties

        due them and the Class. Plaintiffs’ attorneys, as proposed class counsel, are competent and

        experienced in litigating large employment class actions and versed in the rules governing

        class action discovery, certification, and settlement.       Plaintiffs have incurred, and

        throughout the duration of this action, will continue to incur attorneys’ fees and costs that

        have been and will be necessarily expended for the prosecution of this action for the

        substantial benefit of each class member.

               (d)     Superiority: A class action is superior to other available means for the fair

        and efficient adjudication of this controversy. Individual joinder of all class members is

        impracticable. Class action treatment will permit a large number of similarly situated

        persons to prosecute their common claims in a single forum simultaneously, efficiently,

        and without the unnecessary duplication of effort and expense that numerous individual

        actions engender. Because the losses, injuries and damages suffered by each of the

        individual class members may be small for some in the sense pertinent to the class action

        analysis, the expenses and burden of individual litigation would make it extremely difficult

        or impossible for the individual class members to redress the wrongs done to them. On the

        other hand, important public interests will be served by addressing the matter as a class

        action. The cost to the court system and the public for the adjudication of individual

        litigation and claims would be substantially greater than if the claims are treated as a class

        action. Prosecution of separate actions by individual members of the proposed class would

        create a risk of inconsistent and/or varying adjudications with respect to the individual

        members of the class, establishing incompatible standards of conduct for Defendant, and

        resulting in the impairment of class members’ rights and the disposition of their interests




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         through actions to which they are not parties. The issue in this action can be decided by

         means of common, class-wide proof. In addition, if appropriate, the Court can and is

         empowered to fashion methods to efficiently manage this action as a class action.

         63.     Public Policy Considerations: Employers in the Commonwealth of Virginia violate

  employment and labor laws every day. Current employees are often afraid to assert their rights out

  of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

  they believe their former employers might damage their future endeavors through negative

  references and/or other means. Class actions provide the class members who are not named in the

  complaint with a type of anonymity that allows for the vindication of their rights at the same time

  as affording them privacy protections.

         64.     Pursuit of this action as a class will provide the most efficient mechanism for

  adjudicating the claims of Named Plaintiffs and members of the proposed class.

                               FIRST CAUSE OF ACTION
                        Violation of the Fair Labor Standards Act
                                  29 U.S.C. § 201, et seq.
  Brought by Named Plaintiffs on Behalf of Themselves and all Similarly Situated Employees

         65.     Named Plaintiffs hereby re-allege and incorporate by reference all paragraphs

  above as though fully set forth herein.

         66.     At all relevant times, Defendant has been, and continues to be, an “employer”

  engaged in interstate “commerce” and/or in the production of “goods” for “commerce,” within the

  meaning of the FLSA, 29 U.S.C. § 203.

         67.     At all relevant times, Defendant has employed, and continues to employ,

  “employee[s],” including Plaintiffs, and each of the members of the prospective FLSA Class, that

  have been, and continue to be, engaged in interstate “commerce” within the meaning of the FLSA,

  29 U.S.C. § 203.



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         68.     At all relevant times, Defendant has had gross operating revenues in excess of

  $500,000.

         69.     The FLSA, pursuant to §§ 206 and 207, requires each covered employer, including

  Defendant, to compensate all non-exempt employees at a rate of not less than one and one-half

  (1.5) times the regular rate of pay for work performed in excess of forty (40) hours in a single

  workweek.

         70.     At all relevant times, Defendant, pursuant to its policies and practices, failed and

  refused to pay for all hours worked to Plaintiffs, including for required, pre- and/or post-shift work

  performed by Plaintiffs.

         71.     Defendant’s failure to pay Plaintiffs for all hours worked, despite the fact that, upon

  information and belief, Defendant knew of its obligations under the law, entitles Plaintiffs to

  liquidated damages in an amount equal to the amount of unpaid wages under 29 U.S.C. § 216(b),

  since Defendant cannot show it acted in good faith, and a three (3) year, rather than two (2) year

  statute of limitations, since Defendant’s acts constitute willful violations of the FLSA, within the

  meaning of 29 U.S.C. § 255(a)

         72.     As a result of Defendant’s unlawful acts, Plaintiffs have been deprived of

  compensation for all required pre- and/or post-shift hours worked, and are entitled to recovery of

  such amounts, liquidated damages, prejudgment interest, and attorneys’ fees and costs, pursuant

  to 29 U.S.C. § 216(b).

                              SECOND CAUSE OF ACTION
                      Violation of the Virginia Minimum Wage Act
                              Virginia Code § 40.1-28.8 et seq.
  Brought by Named Plaintiffs on Behalf of Themselves and all Similarly Situated Employees

         73.     Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as

  though fully set forth herein.


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          74.    At all relevant times, Defendant has employed, and/or continues to employ,

  Plaintiffs within the meaning of the VMWA.

          75.    Defendants employed Named Plaintiffs, and similarly situated employees, within

  the Commonwealth of Virginia.

          76.    Virginia Code § 40.1-28.8 et seq. provides that, prior to May 1, 2021, every

  employer shall pay to each of its employees’ wages at a rate not less than the federal minimum

  wage and the payment of a lesser wage than the minimum so fixed is unlawful.

          77.    Virginia Code § 40.1-28.8 et seq. also provides that “[f]rom May 1, 2021, until

  January 1, 2022, every employer shall pay to each of its employees’ wages at a rate not less than

  the greater of (i) $9.50 per hour or (ii) the federal minimum wage.”

          78.    During the relevant time period, Defendant paid Plaintiffs and class members less

  than minimum wages when they did not pay Plaintiffs and class members for all hours worked.

  For example, whenever Plaintiffs performed pre- and/or post-shift work, Defendant did not pay

  them at all for the time they spent working. To the extent these hours do not qualify for the payment

  of overtime, Plaintiffs and class members were not being paid at least minimum wages for their

  work.

          79.    During the relevant time period, Defendant regularly failed to pay at least minimum

  wages to Named Plaintiffs and class members for all hours worked pursuant to Virginia Code §

  40.1-28.10.

          80.    Defendants’ failure to pay Named Plaintiffs and class members the required

  minimum wages violate Virginia Code § 40.1-28.10. Pursuant to Virginia Code § 40.1-29, Named

  Plaintiffs and class members are entitled to recover the unpaid balance of their minimum wage

  compensation as well as interest, costs, and attorneys’ fees.




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          81.    Pursuant to Virginia Code § 40.1-29, Named Plaintiffs and class members are

  entitled to recover liquidated damages in an amount equal to the wages unlawfully unpaid and

  interest thereon.

          82.    Pursuant to Virginia Code § 40.1-28.11, whoever knowingly and intentionally

  violates any provisions of this article shall be punished by a fine of not less than $10 nor more than

  $200.

                               THIRD CAUSE OF ACTION
                       Violation of the Virginia Wage Payment Act
                             For Failure to Pay Proper Wages
                               Virginia Code § 40.1-29 et seq.
  Brought by Named Plaintiffs on Behalf of Themselves and all Similarly Situated Employees

          83.    Named Plaintiffs hereby re-allege and incorporate by reference all paragraphs

  above as though fully set forth herein.

          84.    At all relevant times, Defendant has employed, and/or continues to employ,

  Plaintiffs within the meaning of the VWPA.

          85.    Defendant employed Named Plaintiffs, and similarly situated employees, within

  the Commonwealth of Virginia.

          86.    Virginia Code § 40.1-29 et seq. provides that it is unlawful to employ persons for

  over forty (40) hours in a workweek without compensating them at a rate of pay of one and one-

  half times the person’s regular rate of pay.

          87.    Pursuant to Virginia Code § 40.1-29 et seq., during the relevant time period,

  Defendant was required to compensate Named Plaintiffs and class members for all overtime hours

  worked, calculated at one and one-half (1½) times the regular rate of pay for hours worked in

  excess of forty (40) hours per week.




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         88.     Named Plaintiffs and class members were non-exempt employees entitled to the

  protections of the VWPA.

         89.     During the relevant time period, Defendant failed to pay Named Plaintiffs and class

  members overtime wages for all overtime hours worked.

         90.     In violation of the VWPA, Defendants have knowingly and willfully refused to

  perform their obligations and compensate Named Plaintiffs and class members for all wages

  earned and all hours worked, including unpaid work performed as alleged above.

         91.     Defendants’ failure to pay Named Plaintiffs and class members the unpaid balance

  of overtime compensation, as required by Virginia law, violates the provisions of the VWPA, and

  is therefore unlawful.

         92.     Pursuant to the VWPA, Named Plaintiffs and class members are entitled to recover

  their unpaid overtime as well as an additional equal amount as liquidated damages, interest, costs,

  and attorneys’ fees. Additionally, because Defendant knowingly failed to pay wages to Plaintiffs

  in accordance with the VWPA, Plaintiffs are entitled to an amount equal to triple the amount of

  wages due.

                              FOURTH CAUSE OF ACTION
                       Violation of the Virginia Wage Payment Act
                For Failure to Provide Accurate Itemized Wage Statements
                               Virginia Code § 40.1-29 et seq.
  Brought by Named Plaintiffs on Behalf of Themselves and all Similarly Situated Employees

         93.     Named Plaintiffs hereby re-allege and incorporate by reference all paragraphs

  above as though fully set forth herein.

         94.     At all relevant times, Defendant has employed, and/or continues to employ,

  Plaintiffs within the meaning of the VWPA.




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         95.     Defendant employed Named Plaintiffs, and similarly situated employees, within

  the Commonwealth of Virginia.

         96.     Virginia Code § 40.1-29(c) requires Defendant to provide each employee with an

  accurate wage statement, in writing, by a paystub or online accounting, that shows the name and

  address of the employer; the number of hours worked during the pay period if the employee is paid

  on the basis of (i) the number of hours worked or (ii) a salary that is less than the standard salary

  level adopted by regulation of the U.S. Department of Labor pursuant to § 13(a)(1) of the federal

  Fair Labor Standards Act, 29 U.S.C. § 213(a)(1), as amended, establishing an exemption from the

  Act's overtime premium pay requirements; the rate of pay; the gross wages earned by the employee

  during the pay period; and the amount and purpose of any deductions therefrom. The paystub or

  online accounting shall include sufficient information to enable the employee to determine how

  the gross and net pay were calculated.

         97.     During the relevant time period, Defendant has knowingly and intentionally failed

  to comply with Virginia Code § 40.1-29(c) on wage statements that were provided to Named

  Plaintiffs and class members. The deficiencies include, among other things, the failure to correctly

  state the total hours worked by Named Plaintiffs and class members.

         98.     As a result of Defendant’s knowing and intentional failure to comply with Virginia

  Code § 40.1-29(c), Named Plaintiffs and class members have suffered injury and damage to their

  statutorily protected rights. Specifically, Named Plaintiffs and class members are deemed to suffer

  an injury pursuant to Virginia Code §§ 40.1-29(e) and 40.1-29(k) where, as here, Defendant

  intentionally violated Virginia Code 40.1-29(c). Named Plaintiffs and class members were denied

  both their legal right to receive, and their protected interest in receiving, accurate itemized wage

  statements under Virginia Code 40.1-29(c).




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         99.     Pursuant to Virginia Code 40.1-29(j), in addition to any civil or criminal penalty

  provided by this section, and without regard to any exhaustion of alternative administrative

  remedies provided for in this section, if an employer fails to pay wages to an employee in

  accordance with this section, the employee may bring an action, individually, jointly, with other

  aggrieved employees, or on behalf of similarly situated employees against the employer in a court

  of competent jurisdiction to recover payment of the wages, and the court shall award the wages

  owed, an additional equal amount as liquidated damages, plus prejudgment interest thereon as

  provided in subsection G, and reasonable attorney fees and costs. If the court finds that the

  employer knowingly failed to pay wages to an employee in accordance with this section, the court

  shall award the employee an amount equal to triple the amount of wages due and reasonable

  attorney fees and costs.

                                       PRAYER FOR RELIEF

         Named Plaintiffs, on behalf of themselves and on behalf of all others similarly situated,

  pray for relief and judgment against Defendant, as follows:

                 1.      For certification of this action as a collective action under the FLSA,

         including certifying the Class alleged by Named Plaintiffs;

                 2.      To issue notice of this collective action at the earliest possible time, or allow

         Named Plaintiffs to do so, to all individuals who were, are, or will be employed by

         Defendant in Virginia as operators, technicians, engineers, or other similar positions who

         were not compensated for all of their hours worked, including, but not limited to, above

         forty (40) per week, within three (3) years prior to the commencement of this action,

         through the date of judgment or final disposition in this action. Such notice shall inform




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        them that this civil action has been filed, of the nature of the action, and of their right to

        join this lawsuit if they believe they were denied proper wages;

               3.      For appointment of Named Plaintiffs as the class representatives;

               4.      For appointment of Gregg C. Greenberg, of Zipin, Amster, and Greenberg,

        LLC, as lead class counsel for all purposes;

               5.      For appointment of Francisco E. Mundaca, of The Spiggle Law Firm,

        PLLC, as co-counsel for all purposes;

               6.      For appointment of Robert W.T. Tucci, of The Spiggle Law Firm, PLLC,

        as co-counsel for all purposes;

               7.      For certification of this action as a class action under the VMWA and

        VWPA, and designate Named Plaintiffs as the representatives on behalf of all those

        similarly situated under the VMWA and VWPA class;

               8.      Award Named Plaintiffs and all those similarly situated Class Plaintiffs

        actual damages in the amount of all wages found due to Named Plaintiffs and those

        similarly situated Class Plaintiffs and an award of liquidated damages as provided by the

        FLSA, VMWA, and VWPA, including an award of treble damages if the Court deems so

        appropriate;

               9.      Award Named Plaintiffs and all those similarly situated Class Plaintiffs pre-

        and post-judgment interest at the statutory rate;

               10.     Award Plaintiffs attorneys’ fees, costs, and interest pursuant to the FLSA,

        U.S.C. § 216(b), and pursuant to the VMWA, Virginia Code § 40.1-28.8 et seq., and

        VWPA, Virginia Code § 40.1-29 et seq.; and




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                  11.      Award Named Plaintiffs and all those similarly situated Class Plaintiffs

          further legal and/or equitable relief as this Court deems necessary, just and proper.

                                   DEMAND FOR TRIAL BY JURY

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand

  a trial by jury on all issues so triable.


                                                        Respectfully Submitted,


                                                        /s/ Gregg Greenberg
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                                                        Counsel for Named Plaintiffs, Julie Glennon
                                                        and Thomas E. Overby, Jr., and all others
                                                        similarly situated




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